                       IN THE UNITED STATES DISTRICT COURT
                   FOR THE EASTERN DISTRICT OF NORTH CAROLINA
                                 EASTERN DIVISION
                               Case No. 5:19-cv-00475-BO

JASON WILLIAMS,
                  Plaintiff,                          ORDER
         V.

AT&T MOBILITY, LLC,
                  Defendant.


         This matter is before the Court on the Motion to Withdraw as Counsel filed by Patrick A.

Bradford, Esq . FOR GOOD CAUSE SHOWN, it is ordered that the Motion to Withdraw as Counsel

filed by Patrick A. Bradford, is hereby GRANTED, and that Patrick A. Bradford is discharged from

any further responsibility for the representation of the Plaintiff in this action.

         Christopher La Vigne and William Geraci of the law firm of Pierce Bainbridge Beck Price &

Hecht LLP, will continue to represent the plaintiff in this action, and Terence S. Reynolds and Lucas

D. Garber of the law firm of Shumaker Loop & Kendrick LLP, shall continue to serve as Local Civil

Rule 83.1 Counsel for the plaintiff in this action.

        SO ORDERED. This the           ~ff/ day of April , 2020.

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                                                CHIEF UNITED STATES DISTRICT JUDGE




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